     Case 3:20-cr-00249-RS     Document 325         Filed 07/18/24    Page 1 of 3




 1   MICHAEL J. SHEPARD (SBN 91281)
      mshepard@kslaw.com
 2   KING & SPALDING LLP
     50 California Street, Suite 3300
 3
     San Francisco, CA 94111
 4   Telephone:     +1 415 318 1200

 5   KERRIE C. DENT (Admitted pro hac vice)
      kdent@kslaw.com
 6   KING & SPALDING LLP
     1700 Pennsylvania Avenue, NW, Suite 900
 7
     Washington, DC 20006-4707
 8   Telephone:   +1 202 626 2394

 9   CINDY A. DIAMOND (SBN 124995)
      cindy@cadiamond.com
10   58 West Portal Ave #350
11   San Francisco, CA 94127
     408.981.6307
12
     Attorneys for Defendant
13   ROWLAND MARCUS ANDRADE
14
                          IN THE UNITED STATES DISTRICT COURT
15
                   IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
                                  SAN FRANCISCO DIVISION
17

18   THE UNITED STATES OF AMERICA )            Case No. 3:20-cr-00249-RS-LBx
     ,                            )
19                                )            STIPULATION AND PROPOSED ORDER
               Plaintiff,
                                  )            TO SET DATES FOR BRIEFING ON
20                                )            GOVERNMENT’S MEMORANDUM OF
          vs.                     )            LAW PURSUANT TO THE CLASSIFIED
21                                )            INFORMATION PROCEDURES ACT AND
     ROWLAND MARCUS ANDRADE,      )
22                                )            MOTION TO SET PRETRIAL
               Defendant.         )            CONFERENCE AND DESIGNATE A
23                                )            CLASSIFIED INFORMATION SECURITY
                                  )            OFFICER
24                                )
                                  )            Date: August 7, 2024
25                                )            Time: 2:30 a.m. by Videoconference
                                  )            Judge: Hon. Richard Seeborg
26

27

28

     STIP AND PROPOSED ORDER TO SET DATES FOR BRIEFING               Case No. 3:20-CR-00249-RS-LB
     BRIEFING ON GOVERNMENT’S CIPA MOTION
     Case 3:20-cr-00249-RS           Document 325        Filed 07/18/24    Page 2 of 3




 1           The parties hereby stipulate and agree to the following deadlines with respect to briefing

 2   related to the United States’ Memorandum of Law Pursuant to the Classified Information
 3
     Procedures Act and Motion to Set Pretrial Conference and Designate a Classified Information
 4
     Security Officer (“CIPA Motion”) (Dkt. #322):
 5

 6           1) Mr. Andrade will file a response to the CIPA Motion no later than July 25, 2024;

 7
             2) the government may file a reply no later than August 1, 2024; and
 8
             3) the hearing on the CIPA Motion shall be held during the previously scheduled Status
 9

10   Conference on August 7, 2024, at 2:30 p.m., by videoconference.

11           SO STIPULATED:
12
     For the Government:
13
     ISMAIL J. RAMSEY
14   United States Attorney
15
     __________/s/________________                               Dated: July 18, 2024
16   CHRISTIAAN HIGHSMITH
     DAVID WARD
17   Assistant United States Attorneys
     MATTHEW CHOU
18   Special Assistant United States Attorney

19
     For Mr. Andrade:
20

21   ___________/s/______________                                Dated: July 18, 2024
     MICHAEL J. SHEPARD
22   KERRIE C. DENT
     CINDY A. DIAMOND
23

24

25

26

27

28
                                                     1
     STIP AND PROPOSED ORDER TO SET DATES FOR BRIEFING                    Case No. 3:20-CR-00249-RS-LB
     BRIEFING ON GOVERNMENT’S CIPA MOTION
     Case 3:20-cr-00249-RS        Document 325          Filed 07/18/24   Page 3 of 3




 1                                      PROPOSED ORDER

 2
           The aforementioned Stipulation of the parties is adopted as an Order of this Court.
 3

 4
     Dated: July , 2024
 5                                                              HON. CHIEF JUDGE SEEBORG
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                  2
     PROPOSED ORDER TO SET DATES FOR BRIEFING                   Case No. 3:20-CR-00249-RS-LB
     BRIEFING ON GOVERNMENT’S CIPA MOTION
